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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI DIVISION


   ALEKSEJ GUBAREV,
   XBT HOLDING S.A., and
   WEBZILLA, INC.                                                       Case No.
     Plaintiffs,
                                                                   0:17-cv-60426-UU
   v.

   BUZZFEED, INC. and
   BEN SMITH
     Defendants.


                                  NOTICE OF SEALED FILING
         Pursuant to the Court’s Order dated September 19, 2018 (Dkt. 210) (the “Sealing Order”)
  and the Court’s Amended Protective Order entered December 8, 2017 (Dkt. 97) (the “Protective
  Order”), Plaintiffs in the above captioned action, by and through their undersigned counsel,
  hereby provide notice pursuant to Local Rule 5.4(b)(1) of the filing of Plaintiffs’ Reply to
  Defendants’ Opposition to Plaintiffs’ Motion for Summary Judgment (the “Reply”) and the
  supporting papers thereto. A redacted version of the Reply and supporting papers will be filed
  on the public docket in accordance with the Sealing Order.
         The Reply and supporting papers contain information and documents that have been
  designated by Plaintiffs, Defendants and/or third-parties as either Confidential or Attorneys’
  Eyes Only under the Protective Order. Accordingly, there is good cause for sealing the
  documents.




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  Dated: October 9, 2018

  Respectfully Submitted:

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                                  CERTIFICATE OF SERVICE
         I hereby certify that a true and correct copy of the foregoing was served electronically via
  email on all counsel or parties of record on the service list below on October 9, 2018.


                                                       /s/ Matthew Shayefar
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